                                           Case 24-10070-BLS                  Doc 1         Filed 01/21/24                  Page 1 of 14

    Fill in this information to identify the case:


    United States Bankruptcy Court for the District of Delaware

    Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            06/22

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
 (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                Terraform Labs Pte. Ltd.


   2.   All other names debtor used                  N/A
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                  N/A


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     1          Wallich Street
                                                     Number     Street                                                     Number                    Street


                                                     #37-01
                                                                                                                           P.O. Box


                                                     Guoco Tower           Singapore               078881
                                                     City                  State                   ZIP Code                City                      State        ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business

                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State            ZIP Code




   5.   Debtor’s website (URL)                       https://www.terra.money

   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      Page 1
Debtor
                                 Case 24-10070-BLS                    Doc 1         Filed 01/21/24     Page 2 of 14
                                                                                               Case number (if known)
               Terraform Labs Pte. Ltd.                                                                                         24-_____ ( )
               Name


                                            A. Check one:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☒ None of the above


                                            B. Check all that apply:
                                            ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5191 – Other Information Services

8.   Under which chapter of the
                                            Check one:
     Bankruptcy Code is the
     debtor filing?                         ☐ Chapter 7
                                            ☐ Chapter 9
                                            ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and
     debtor” must check the first subbox.                      its aggregate noncontingent liquidated debts (excluding debts owed to insiders
     A debtor as defined in § 1182(1) who                      or affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     elects to proceed under subchapter V                      recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not the                         income tax return or if any of these documents do not exist, follow the procedure
     debtor is a “small business debtor”)                      in 11 U.S.C. § 1116(1)(B).
     must check the second sub-box.
                                                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                               are less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or
                                                               if any of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                               1116(1)(B).
                                                             ☐ A plan is being filed with this petition.
                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                               the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                               Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                               Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                               with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                               1934 Rule 12b-2.
                                            ☐ Chapter 12
9.   Were prior bankruptcy cases            ☒ No
     filed by or against the debtor
     within the last 8 years?               ☐ Yes        District                          When                         Case number
                                                                                                       MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.                                      District                          When                         Case number
                                                                                                        MM / DD/ YYYY




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       Page 2
Debtor
                                    Case 24-10070-BLS                   Doc 1         Filed 01/21/24     Page 3 of 14
                                                                                                 Case number (if known)
                Terraform Labs Pte. Ltd.                                                                                                 24-_____ ( )
                Name



10. Are any bankruptcy cases                  ☒ No
    pending or being filed by a
    business partner or an                    ☐ Yes          Debtor                                                           Relationship
    affiliate of the debtor?                                 District                                                         When
      List all cases. If more than 1,                                                                                                           MM / DD/ YYYY
                                                             Case number, if known
      attach a separate list.



11.      Why is the case filed in this        Check all that apply:
         district?
                                              ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                              ☐    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                              ☒ No
    possession of any real
    property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                           Where is the property?
                                                                                           Number                    Street


                                                                                           City                                State              ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                 Statistical and administrative information



   13. Debtor’s estimation of                 Check one:
       available funds                        ☒   Funds will be available for distribution to unsecured creditors.
                                              ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                    
                                              ☐   1-49                                 ☐     1,000-5,000                               ☐     25,001-50,000
       creditors                              ☐   50-99                                ☐     5,001-10,000                              ☐     50,001-100,000
          (on a consolidated basis with all   ☒   100-199                              ☐     10,001-25,000                             ☐     More than 100,000
          affiliates)
                                              ☐   200-999


Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 Page 3
Debtor
                                   Case 24-10070-BLS                    Doc 1         Filed 01/21/24     Page 4 of 14
                                                                                                 Case number (if known)
               Terraform Labs Pte. Ltd.                                                                                               24-_____ ( )
               Name



   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐      $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☐      $1,000,000,001-$10 billion
         affiliates)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐      $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☒     $100,000,001-$500 million           ☐      More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐      $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☐      $1,000,000,001-$10 billion
         affiliates)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐      $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☒     $100,000,001-$500 million           ☐      More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  17. Declaration and signature of                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of                     this petition.
      debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is
                                                       true and correct.
                                                       I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on January 21, 2024
                                                                         MM / DD/ YYYY


                                                            /s/ Chris Amani                                           Chris Amani
                                                            Signature of authorized representative of                 Printed name
                                                             debtor

                                                            Chief Executive Officer
                                                            Title


  18. Signature of attorney                             /s/ Zachary I. Shapiro                                      Date     January 21, 2024
                                                       Signature of attorney for debtor                                     MM / DD / YYYY
                                                       Zachary I. Shapiro                                          Ronit Berkovich
                                                         Printed Name
                                                
                                                       Richards, Layton & Finger, P.A.                             Weil, Gotshal & Manges LLP
                                                         Firm Name
                                                
                                                       One Rodney Square, 920 North King Street                    767 Fifth Avenue
                                                         Address
                                                
                                                       Wilmington, Delaware 19801                                  New York, New York 10153
                                                         City/State/Zip
                                                
                                                       (302) 651-7700                                              (212) 310-8000
                                                         Contact Phone
                                                
                                                       shapiro@rlf.com                                             ronit.berkovich@weil.com
                                                         Email Address
                                                
                                                       5103                                Delaware
                                                       Bar Number                          State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                Page 4
                Case 24-10070-BLS            Doc 1      Filed 01/21/24       Page 5 of 14



                                        RESOLUTIONS OF
                                    THE BOARD OF DIRECTORS
                                              OF
                                    TERRAFORM LABS PTE. LTD.

                                             January 21, 2024

         On the date first written above, the Board of Directors (the “Board”) of Terraform Labs Pte. Ltd.,
a private limited company incorporated in the Republic of Singapore (the “Company”), unanimously
adopted, ratified, confirmed and approved the following resolution at a meeting of the Board, at which a
quorum was present:

        WHEREAS, the Board has had the opportunity to consult with the management and the legal and
financial advisors of the Company to consider, and has considered, the strategic alternatives available to
the Company;

       WHEREAS, at a prior meeting, the Board authorized and approved the appointment of John S.
Dubel as an independent member of the Board;

        WHEREAS, the Board has reviewed and had the opportunity to ask questions about the materials
presented by the management and the legal and financial advisors of the Company regarding the liabilities
and liquidity of the Company, the strategic alternatives available to it and the impact of the foregoing on
the Company’s business; and

       WHEREAS, the Board believes that taking the actions set forth below are in the best interests of
the Company and, therefore, desires to adopt, authorize, and approve the following resolutions:

I.      Commencement of the Chapter 11 Case

         NOW, THEREFORE BE IT RESOLVED, the Board has determined, after consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the best interests
of the Company, its creditors, and other stakeholders that a petition be filed by the Company seeking relief
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and be it further
         RESOLVED, that any officer or director of the Company (each, an “Authorized Officer”), in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
power of delegation, to negotiate, execute, verify, deliver and file, in the name and on behalf of the
Company, and under its corporate seal or otherwise, all plans, petitions, schedules, statements, motions,
lists, applications, pleadings, affidavits, declarations, orders, notices and other papers (collectively, the
“Chapter 11 Filings”) (with such changes therein and additions thereto as such Authorized Officer may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by
such Authorized Officer with any changes thereto to be conclusive evidence that such Authorized Officer
deemed such changes to meet such standard) in the Bankruptcy Court, and, in connection therewith, to take
and perform any and all further acts and deeds which such Authorized Officer deems necessary, proper, or
desirable in connection with the Company’s chapter 11 case (the, “Chapter 11 Case”), including, without
limitation, negotiating, executing, delivering, performing and filing any and all documents, schedules,
statements, lists, papers, agreements, certificates, and/or instruments (or any amendments or modifications
thereto) in connection with, or in furtherance of, the Chapter 11 Case and the transactions and professional
retentions set forth in this resolution; and be it further
                Case 24-10070-BLS            Doc 1       Filed 01/21/24     Page 6 of 14



II.     Retention of Advisors

         RESOLVED, that, in connection with the Chapter 11 Case, any Authorized Officer, acting singly
or jointly, be, and each hereby is, authorized, empowered and directed, with full power of delegation, in the
name and on behalf of the Company, to employ and retain all assistance by legal counsel, accountants,
financial advisors, investment bankers and other professionals, on behalf of the Company, that such
Authorized Officer deems necessary, appropriate or advisable in connection with, or in furtherance of, the
Chapter 11 Case, with a view to the successful prosecution of the Chapter 11 Case (such acts to be
conclusive evidence that such Authorized Officer deemed the same to meet such standard); and be it further
         RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767 Fifth Avenue,
New York, New York 10153, is hereby retained as attorneys for the Company in the Chapter 11 Case,
subject to Bankruptcy Court approval; and be it further

        RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at One Rodney Square,
920 North King Street, Wilmington, Delaware 19801, is hereby retained as local counsel for the Company
in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

        RESOLVED, that the law firm of Dentons US LLP, located at 1221 Sixth Ave, New York, NY
10020, is hereby retained as special litigation counsel for the Company in the Chapter 11 Case, subject to
Bankruptcy Court approval; and be it further

         RESOLVED, that the law firm of WongPartnership LLP, located at 12 Marina Boulevard Level
28 Marina Bay Financial Centre Tower 3 Singapore 018982, is hereby retained as special foreign counsel
for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

         RESOLVED, that the firm of Alvarez & Marsal North America, LLC , located at 600 Madison
Ave, New York, NY 10022, is hereby retained as financial advisor for the Company in the Chapter 11 Case,
subject to Bankruptcy Court approval; and be it further

         RESOLVED, that the firm of Epiq Corporate Restructuring, LLC located at 777 Third Avenue,
New York, New York 10017, is hereby retained as claims agent for each Entity in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and be it further

         RESOLVED, that, with respect to each Company, each Authorized Officer, in each case, acting
singly or jointly, be, and each hereby is, authorized, empowered, and directed to take and perform any and
all further acts and deeds, including, without limitation: (i) the payment of any consideration; (ii) the
payment of fees, expenses, and taxes such Authorized Officer deems necessary, advisable, desirable, or
appropriate; and (iii) negotiating, executing, delivering, and performing any and all documents, motions,
pleadings, applications, declarations, affidavits, schedules, statements, lists, papers, agreements,
certificates, and/or instruments (or any amendments or modifications thereto) in connection with the
engagement of professionals contemplated by the foregoing resolutions (such acts to be conclusive evidence
that such Authorized Officer deemed the same to meet such standard); and be it further

III.    General Authority and Ratification

        RESOLVED, that any Authorized Officer, acting singly or jointly, be, and each hereby is,
authorized, empowered, and directed, with full power of delegation, in the name and on behalf of the
Company, to take and perform any and all further acts or deeds that, in the judgment of such Authorized
Officer, shall be or become necessary, proper, or desirable in connection with the Chapter 11 Case,
including, but not limited to: (i) the negotiation of such additional agreements, amendments,



                                                     2
                Case 24-10070-BLS           Doc 1        Filed 01/21/24    Page 7 of 14



modifications, supplements, reports, documents, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities, notes, certificates, or other documents
that may be required; (ii) the execution, delivery, certification, recordation, performance under and filing
(if applicable) of any of the foregoing; and (iii) the payment of all fees, consent payments, taxes and
other expenses as any such Authorized Officer, in his or her sole discretion, may approve or deem
necessary, appropriate or desirable in order to carry out the intent and accomplish the purposes of the
foregoing resolutions and the transactions contemplated thereby, all of such actions, executions,
deliveries, filings and payments to be conclusive evidence of such approval or that such Authorized
Officer deemed the same to meet such standard; and be it further
         RESOLVED FURTHER, that any and all past actions heretofore taken by any Authorized
Officer in the name and on behalf of the Company in furtherance of any or all of the preceding resolutions
be, and the same hereby are, ratified, confirmed, and approved in all respects as the acts and deeds of the
Company.
         NOW, THEREFORE BE IT RESOLVED, that the Board hereby authorizes and approves the
filing of the Chapter 11 Case.



                                        *       *          *      *




                                                     3
                                                                  Case 24-10070-BLS                           Doc 1     Filed 01/21/24              Page 8 of 14


            Fill in this information to identify the case:


            United States Bankruptcy Court for the: District of Delaware
            Case number (If known): ______________                                                                                                            Check if this is an amended
                                                                                                                                                               filing

            Official Form 204

            Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the Largest
            Unsecured Claims and Are Not Insiders                                    12/15

            A list of creditors holding the largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
            insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the
            largest unsecured claims.


               Name of creditor and complete mailing address,                Name, telephone number, and      Nature of the claim (for Indicate if claim is Amount of unsecured claim
                             including zip code                             email address of creditor contact example, trade debts,       contingent,
                                                                                                              bank loans, professional unliquidated, or if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                   services, and           disputed         If claim is partially secured, fill in total claim amount and deduction
                                                                                                               government contracts)                        for value of collateral or setoff to calculate unsecured claim.
                                                                                                                                                                                      Deduction for value
                                                                                                                                                                 Total claim, if        of collateral or
                                                                                                                                                               partially secured               setoff            Unsecured claim
         K&L GATES LLP                                                     DREW HINKES
         ATTN: DREW HINKES                                                 EMAIL - drew.hinkes@klgates.com
         210 SIXTH AVENUE                                                  PHONE - 302-416-7000
       1 K&L GATES CENTER                                                  FAX - 617-261-3100                         TRADE PAYABLE                                                                                        $3,474.50
         PITTSBURGH, PA 15221
         UNITED STATES

         CHEANG & LEE SANITARY PLUMBING PTE LTD                            ERIC CHEE
         ATTN: ERIC CHEE                                                   EMAIL - main@clspc.com.sg
         MANAGER                                                           PHONE - +65 68966488
       2 21 TOH GUAN RD. E                                                 FAX -                                      TRADE PAYABLE                                                                                        $1,812.39
         #06-13 TOH GUAN CENTRE
         SINGAPORE, 608609

         ACA ENGRG PTE LTD                                                 POHYEE SONG
         ATTN: POHYEE SONG                                                 EMAIL - pohyee.song@acaengrg.com
         27 MANDAI ESTATE                                                  PHONE -
       3 #07-07                                                            FAX -                                      TRADE PAYABLE                                                                                          $757.58
         INNOVATION PLACE TOWER 2
         SINGAPORE, 729931

         PAGERDUTY, INC.                                                   JENNIFER TEJADA
         ATTN: JENNIFER TEJADA                                             EMAIL - jennifer.tejada@pagerduty.com
         CEO                                                               PHONE - 415-805-7070
         DREAMPLUS 1219 311                                                FAX -
       4 GANGNAM-DAERO                                                                                                TRADE PAYABLE                                                                                          $747.00
         SEOCHO-GU
         SEOUL, 16628
         KOREA, REPUBLIC OF

         SINGTEL                                                           BOON KOH
         ATTN: BOON KOH                                                    EMAIL -
         CFO                                                               PHONE - +65 68383888
       5 31 EXECTER ROAD COMCENTRE                                         FAX - +65 67328428
                                                                                                                      TRADE PAYABLE                                                                                          $100.96
         SINGAPORE, 239732

         ARCHER MARKETING & DEVELOPMENT (S) PTE LTD                        VINCENT CHIUA
         ATTN: VINCENT CHIUA                                               EMAIL - accounts@archer.com.sg
         MANAGING DIRECTOR                                                 PHONE - +65 67772272
         4 PENJURU PLACE                                                   FAX - +65 67771179
       6 #01-23                                                                                                       TRADE PAYABLE                                                                                           $81.58
         2.8 PENJURU TECH HUB
         SINGAPORE, 608782

         SUBMC1
         1 WALLICH STREET                                                  EMAIL - aliceleaw@guocoland.com
       7 #31-01 GUOCO TOWER                                                PHONE -                                    TRADE PAYABLE                                                                                            $7.76
         SINGAPORE, 078881                                                 FAX -

         CLOUDFLARE, INC.                                                  MICHELLE ZATLYN
         ATTN: MICHELLE ZATLYN                                             EMAIL - mzatlyn@cloudflare.com
         CO-FOUNDER AND PRESIDENT                                          PHONE - 650-319-8930
       8 101 TOWNSEND ST                                                   FAX -                                      TRADE PAYABLE          UNLIQUIDATED                                                          UNDETERMINED
         SAN FRANCISCO, CA 94107
         UNITED STATES

            ETHAN LEE                                                      INFORMATION ON FILE
                                                                                                                         EMPLOYEE           CONTINGENT AND
       9 ADDRESS ON FILE                                                                                              REIMBURSEMENT          UNLIQUIDATED
                                                                                                                                                                                                                   UNDETERMINED

         NANSEN PTE. LTD                                                   ALEXANDER SVANEVIK
         ATTN: ALEXANDER SVANEVIK                                          EMAIL - alex@nansen.ai
                                                                                                                                            CONTINGENT AND
      10 111 SOMERSET RD, #03-09                                           PHONE -                                    TRADE PAYABLE
                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   UNDETERMINED
         SINGAPORE 238164                                                  FAX -

         SECURITIES AND EXCHANGE COMMISSION                                DEVON STAREN
         ATTN: DEVON STAREN                                                EMAIL - starend@sec.gov                                          CONTINGENT,
      11 100 F STREET N.E.                                                 PHONE -                                      LITIGATION        UNLIQUIDATED, AND                                                        UNDETERMINED
         WASHINGTON, DC 20549-5985                                         FAX -                                                              DISPUTED

         STANDARD CRYPTO VENTURE FUND                                      ASHLEY SWEREN
         ATTN: ASHLEY SWEREN                                               EMAIL - ashley@standardcrypto.vc
         HEAD OF OPERATIONS                                                PHONE -
         1225 4TH STREET                                                   FAX -                                                            CONTINGENT AND
      12 #525                                                                                                          INVESTMENT
                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   UNDETERMINED
         SAN FRANCISCO, CA 94158
         UNITED STATES

         TOKEN TERMINAL OY                                                 RASMUS SAVANDER
         PIENI ROOBERTINKATU 9                                             EMAIL - rasmus@tokenterminal.xyz
                                                                                                                                            CONTINGENT AND
      13 00130 HELSINKI                                                    PHONE -                                    TRADE PAYABLE
                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                   UNDETERMINED
         FINLAND                                                           FAX -

         TPC COMMERCIAL PTE LTD                                            CHENG HSING YAO
         ATTN: CHENG HSING YAO                                             EMAIL - hcheng@guocoland.com
         PRINCIPAL                                                         PHONE - +65 65343132
         1 WALLICH STREET                                                  FAX -
      14 #31-01                                                                                                    LEASE TERMINATION         UNLIQUIDATED                                                          UNDETERMINED
         GUOCO TOWER
         SINGAPORE, 078881




1/21/2024                                                                                                                                                                                                                    Page ‐ 1
                                                       Case 24-10070-BLS                       Doc 1       Filed 01/21/24               Page 9 of 14


              Name of creditor and complete mailing address,     Name, telephone number, and      Nature of the claim (for Indicate if claim is Amount of unsecured claim
                            including zip code                  email address of creditor contact example, trade debts,       contingent,
                                                                                                  bank loans, professional unliquidated, or if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                       services, and           disputed         If claim is partially secured, fill in total claim amount and deduction
                                                                                                   government contracts)                        for value of collateral or setoff to calculate unsecured claim.
                                                                                                                                                                          Deduction for value
                                                                                                                                                     Total claim, if        of collateral or
                                                                                                                                                   partially secured               setoff            Unsecured claim
         TQ VENTURES                                           ANDREW MARKS
         ATTN: ANDREW MARKS                                    EMAIL - andrew@tqventues.com
         PARTNER                                               PHONE - 917-887-5574 / 650-669-8381
         408 WEST 14TH STREET                                  FAX -
         4TH FLOOR
         NEW YORK, NY 10014                                                                                                     CONTINGENT AND
      15 UNITED STATES                                                                                    INVESTMENT
                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                       UNDETERMINED


            C/O: ESHARES, INC. DBA CARTA, INC.
            333 BUSH STREET, SUITE 2300
            SAN FRANCISCO, CA 94104




1/21/2024                                                                                                                                                                                                        Page ‐ 2
                 Case 24-10070-BLS             Doc 1      Filed 01/21/24   Page 10 of 14




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :    Chapter 11
                                                             :
TERRAFORM LABS PTE. LTD.,                                    :    Case No. 24– ________ (   )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                         CORPORATE OWNERSHIP STATEMENT
                      PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

                 Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart

reflecting the ownership interests in Terraform Labs Pte. Ltd., as a debtor and debtor in possession

in the above-captioned chapter 11 case (the “Debtor”), and, for informational purposes, its non-

debtor subsidiaries (the “Non-Debtors”). The Debtor hereby files this corporate ownership

statement and represents that no parent corporation or any publicly held corporation owns 10% or

more of the Debtor’s stock.
Case 24-10070-BLS     Doc 1   Filed 01/21/24   Page 11 of 14




                         Exhibit A

                    Organizational Chart
Debtor
                                    Case 24-10070-BLS           Doc 1       Filed  01/21/24 Page 12 of 14
                                                                             Case number (if known)
         Terraform Labs Pte. Ltd.                                                                      24-_____ ( )
         Name




                                                                                                                      Entity Key
                                                                                                                                          Debtor


                                                                                                                                          Non- Debtor




                                                   Shareholder:                             Shareholder:
                                                 Kwon Do Hyeong                         Daniel Hyunsung Shin



                                              Shareholding %: 92%                     Shareholding %: 8%



                                                                   Terraform Labs Pte. Ltd.
                                                                         (Singapore)




                100%                                100%                                          100%                                      100%



                                           Terraform Labs Limited                      Moon Landing Ventures I Ltd.
         Terraform Labs Korea                                                                                                      Proximity Panorama, LDA
                                            (British Virgin Islands)                      (British Virgin Islands)
          (Republic of Korea)                                                                                                             (Portugal)
                                                   (dissolved)                                   (dissolved)
                  Case 24-10070-BLS              Doc 1      Filed 01/21/24         Page 13 of 14




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :           Chapter 11
                                                             :
TERRAFORM LABS PTE. LTD.,                                    :           Case No. 24– ________ (        )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

                                        LIST OF EQUITY HOLDERS

                 Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct ownership interest in the above-captioned debtor and

debtor in possession (the “Debtor”).

Check applicable box:

☐       There are no equity security holders or corporations that directly or indirectly own 10% or
        more of any class of the Debtor’s equity interest.

☒       The following are the Debtor’s equity security holders (list holders of each class, showing
        the number and kind of interests registered in the name of each holder, and the last
        known address or place of business of each holder):

     Name and Last Known Address or Place of                         Kind/Class of      Number of Interests
               Business of Holder                                      Interest              Held

                   Kwon Do Hyeong
              5 Anthony Road, Blk5 #04-10                          Ordinary Shares             92%
                   Singapore 229954

               Daniel Hyunsung Shin
     Acro Seoul Forest, Apartment A, Room 3003
                                                                   Ordinary Shares                 8%
     83-21, Wangsimni-ro, Seongdong-gu, Seoul,
              Republic of Korea 04769




                                                          List of Equity Holders                              1
                     Case 24-10070-BLS                 Doc 1        Filed 01/21/24          Page 14 of 14




 Fill in this information to identify the case:

 Debtor name: Terraform Labs Pte. Ltd.
 United States Bankruptcy Court for the District of Delaware

 Case number (If known):        24-_____ ( )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:

         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form 206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the Largest Unsecured Claims and Are Not
         Insiders (Official Form 204)
         Other document that requires a declaration Corporate Ownership Statement and List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on January 21, 2024
                     MM /DD /YYYY
                                                   /s/ Chris Amani
                                                    Signature of individual signing on behalf of debtor

                                                       Chris Amani
                                                       Printed name

                                                       Chief Executive Officer
                                                       Position or relationship to debtor




 Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
